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                      Exhibit 108
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                               In the Matter Of:

      TERESA ELIZABETH LEAVITT vs JOHNSON & JOHNSON, et al.,




                     BROOKE T. MOSSMAN, MS, PHD

                               November 15, 2018




                                                     EXHIBIT J
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·1· · · IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA

·2· · · · · · · IN AND FOR THE COUNTY OF ALAMEDA

·3· · · · · · · · · · · · · ---O0O---

·4
· · ·TERESA ELIZABETH LEAVITT
·5· ·and DEAN J. McELROY,

·6· · · · · · ·Plaintiffs,

·7· ·vs·· · · · · · · · · · · · · · · · · ·No. RG17882401

·8· ·JOHNSON & JOHNSON, et al.,

·9· · · · · · ·Defendants.
· · ·_________________________/
10

11

12· · · · · DEPOSITION OF BROOKE T. MOSSMAN, MS, Ph.D.

13

14

15

16· · · · · ·Taken before DARLENE L. FALLS, RMR, CRR

17· · · · · · · · · · ·November 15, 2018

18

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                                                           Page 2                                                          Page 4
 ·1· · · · · · · · · · · · · I N D E X                              ·1· ·For the Defendants Imerys Talc America, Inc.; Imerys
 ·2                                                                 · · ·Talc Vermont, Inc.; Cyprus Mines Corporation:
                                                                    ·2· ·(via conference call)
 ·3· ·BROOKE T. MOSSMAN, MS, Ph.D.· · · · · · · · · · · ·PAGE
                                                                    · · · · · RICK NORRIS
 ·4· ·EXAMINATION BY MR. LITTLE· · · · · · · · · · · · · · 5        ·3· · · · Dentons US LLP
 ·5· ·EXAMINATION BY MR. SEA· · · · · · · · · · · · · · · 51        · · · · · 601 S. Figueroa Street
 ·6                                                                 ·4· · · · Suite 2500
                                                                    · · · · · Los Angeles, California 90017-5704
 ·7                                                                 ·5· · · · 213-243-6234
 ·8· · · · · · · · · · · ·E X H I B I T S                           · · · · · rick.norris@dentons.com
 ·9                                                                 ·6
 10· ·EXHIBIT NO.· · · · · · · · · · · · · · · · · · · · PAGE       · · · · · PATRICIA BALL ALBERTS
                                                                    ·7· · · · Dentons US LLP
 11· ·Exhibit 1· · · Notice of Expert Deposition of                 · · · · · 601 S. Figueroa Street
 · · · · · · · · · · Brooke Mossman· · · · · · · · · · · · 5        ·8· · · · Suite 2500
 12                                                                 · · · · · Los Angeles, California 90017-5704
                                                                    ·9· · · · 213-243-6032
 · · ·Exhibit 2· · · Mossman CV· · · · · · · · · · · · · · 5
                                                                    · · · · · patricia.alberts@dentons.com
 13                                                                 10
 · · ·Exhibit 3· · · Mossman Reliance List· · · · · · · · ·5        11· ·For the Defendants Johnson & Johnson; Johnson & Johnson
 14                                                                 · · ·Consumer, Inc.:
                                                                    12· · · · NEXUS U. SEA
 · · ·Exhibit 4· · · Mossman Prior Testimony· · · · · · · ·5
                                                                    · · · · · Orrick, Herrington & Sutcliffe LLP
 15                                                                 13· · · · 51 West 52nd Street
 · · ·Exhibit 5· · · Defense Expert Disclosure                      · · · · · New York, New York 10019-6142
 16· · · · · · · · · Imerys et al.                                  14· · · · 212-506-3516
                                                                    · · · · · nsea@orrick.com
 17· ·Exhibit 6· · · Defense Expert Disclosure J&J· · · · ·5
                                                                    15
 18· ·Exhibit 7· · · Prior Mossman Report· · · · · · · · · 5        16
 19                                                                 17
 20                                                                 18
                                                                    19
 21                                                                 20
 22                                                                 21
 23                                                                 22
 24                                                                 23
                                                                    24
 25                                                                 25

                                                           Page 3                                                          Page 5
 ·1· · · · ·DEPOSITION OF BROOKE T. MOSSMAN, MS, Ph.D.              ·1· · · · · · · · ·(Deposition Exhibits Nos. 1 through 7
 ·2
                                                                    ·2· · · · were marked for identification preceding
 ·3· · · · · · BE IT REMEMBERED, that pursuant to Notice, and
 ·4· ·on the 15th day of November, 2018, commencing at the
                                                                    ·3· · · · commencement of the deposition.)
 ·5· ·hour of 1:05 p.m., at the Hilton Garden Inn, 101 Main         ·4· · · · · · · · · · · · · ---O0O---
 ·6· ·Street, Burlington, Vermont 05401, before me, DARLENE         ·5· ·THEREUPON,
 ·7· ·L. FALLS, a Certified Shorthand Reporter, personally          ·6· · · · · · · · BROOKE T. MOSSMAN, MS, Ph.D.
 ·8· ·appeared BROOKE T. MOSSMAN, MS, Ph.D., produced as a          ·7· ·called as a witness, having been first duly sworn, was
 ·9· ·witness in said action, and being by me first duly
                                                                    ·8· ·examined and testified as follows:
 10· ·sworn, was thereupon examined as a witness in said
                                                                    ·9· · · · · · · · ·MR. NORRIS:· Plaintiff's counsel,
 11· ·cause.
 12· · · · · · · · · · · · · ---o0o---
                                                                    10· · · · before -- before we get going, can we just get a
 13                                                                 11· · · · stipulation on the record that an objection by one
 14                                                                 12· · · · defense counsel will stand for all?
 15· ·APPEARANCES:                                                  13· · · · · · · · ·MR. LITTLE:· Yes.· That would be great.
 16· ·For the Plaintiffs:                                           14· · · · · · · · ·MR. NORRIS:· Thank you.
 · · ·(via conference call)
                                                                    15· · · · · · · · · · · · ·EXAMINATION
 17· · · · BRENDAN E. LITTLE
 · · · · · Levy Konigsberg LLP
                                                                    16· ·BY MR. LITTLE:
 18· · · · 800 Third Avenue, 11th Fl.                               17· · · · Q.· ·Okay.· Good afternoon, Dr. Mossman.
 · · · · · New York, New York 10022                                 18· · · · A.· ·Hello.· How are you?
 19· · · · 212-605-6282                                             19· · · · Q.· ·Could you please identify yourself, for the
 · · · · · blittle@levylaw.com                                      20· ·record?
 20
                                                                    21· · · · A.· ·My name is Brooke Taylor Mossman.
 21
 22
                                                                    22· · · · Q.· ·Okay.· And where are you today, Dr. Mossman?
 23                                                                 23· · · · A.· ·I'm in a conference room at the Hilton Garden
 24                                                                 24· ·Inn in Burlington, Vermont.
 25                                                                 25· · · · Q.· ·And can you tell me who else is in the room


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                                                       Page 22                                                         Page 24
 ·1· ·2010 document on talc that's cited on my Key References    ·1· · · · A.· ·Yeah, I --
 ·2· ·and Reliance Materials.                                    ·2· · · · Q.· ·So your definition of cleavage fragment, that
 ·3· · · · Q.· ·Okay.· And what IARC document specifically is    ·3· ·includes elongated mineral particles that are
 ·4· ·that?· I think there are multiple documents identified     ·4· ·nonasbestiform, correct?
 ·5· ·in your Reliance Materials.                                ·5· · · · A.· ·No, let me --
 ·6· · · · A.· ·Um-hum.· It's the -- it will be under World      ·6· · · · · · · · ·MR. SEA:· The same objection.
 ·7· ·Health Organization IARC Monograph No. 93 in 2010,         ·7· · · · A.· ·Let me emphasize that I would not use the
 ·8· ·Carbon Black, Titanium Dioxide, and Talc.                  ·8· ·term "elongated mineral particles" for cleavage
 ·9· · · · Q.· ·Okay.· And can you tell me in your own words     ·9· ·fragments or any materials knowing the discrepancies in
 10· ·what your understanding of a cleavage fragment is?         10· ·which it has been used in the scientific literature and
 11· · · · · · · · ·MR. SEA:· Objection to form.· Dr. Mossman    11· ·being cognizant of the fact that geologists do not
 12· · · · has already noted that she relies on the              12· ·recognize that term mineralogically.
 13· · · · definition in the IARC monograph.                     13· · · · · · · · ·MR. SEA:· Counsel, if we can just take a
 14· · · · Q.· ·BY MR. LITTLE:· Dr. Mossman, could you           14· · · · one-minute off the record?· They're -- they're
 15· ·specify where in that document it defines what a           15· · · · vacuuming right outside this conference room, and
 16· ·cleavage fragment is?                                      16· · · · it's hard for Dr. Mossman to hear.· I'm just going
 17· · · · A.· ·Yes.· It is on the first page of the document    17· · · · to ask them to stop vacuuming, please, so that
 18· ·that describes talc, that section, and the definition      18· · · · it's a little bit easier to hear.
 19· ·is supplied on that first page.                            19· · · · · · · · ·MR. LITTLE:· Sure.· Why don't we go off
 20· · · · Q.· ·So essentially when you use the term             20· · · · the record for a five-minute break.
 21· ·"cleavage fragments," you are referring to mineral         21· · · · · · · · ·MR. SEA:· Yeah, let's do that.
 22· ·fragments that are not asbestiform; is that correct?       22· · · · · · · · · (A brief break was taken from 1:44 p.m.
 23· · · · A.· ·That's correct.                                  23· · · · to 1:48 p.m.)
 24· · · · Q.· ·Dr. Mossman, are you familiar with the term      24· · · · · · · · ·MR. LITTLE:· Great.· Back on the record,
 25· ·"elongated mineral fragment"?                              25· · · · please.
                                                       Page 23                                                         Page 25
 ·1· · · · A.· ·EMF?                                             ·1· · · · Q.· ·BY MR. LITTLE:· Dr. Mossman, before we took a
 ·2· · · · Q.· ·Sorry, elongated mineral particle?               ·2· ·break, I believe the question that had been posed was
 ·3· · · · A.· ·Yes.                                             ·3· ·whether your definition of a cleavage fragment includes
 ·4· · · · Q.· ·And how would you define an elongated mineral    ·4· ·elongated mineral particles that are nonasbestiform.
 ·5· ·particle?                                                  ·5· ·Is it your opinion that elongated mineral particles
 ·6· · · · A.· ·Let me emphasize that that term is a very        ·6· ·that are nonasbestiform are not capable of causing
 ·7· ·broad term that has been used, depending upon authors      ·7· ·cancer?
 ·8· ·of scientific articles, loosely and is not a geological    ·8· · · · · · · · ·MR. SEA:· The same objection.
 ·9· ·term that's recognized by most geologists, and so I        ·9· · · · A.· ·Yes.
 10· ·would define it as something being extremely broad that    10· · · · Q.· ·Are there any epidemiological studies that
 11· ·may reflect a number of minerals that may or may not be    11· ·you're aware of that examine whether elongated mineral
 12· ·asbestos or asbestiform.                                   12· ·particles that have the same chemical composition of
 13· · · · Q.· ·Would you agree that all nonasbestiform          13· ·the amphibole asbestos types do not cause cancer?
 14· ·elongated mineral particles are cleavage fragments as      14· · · · A.· ·There are experimental studies.
 15· ·used in your opinion?                                      15· · · · Q.· ·When you refer to "experimental studies," can
 16· · · · A.· ·Would you say that again?                        16· ·you describe what studies you're referring to?
 17· · · · Q.· ·Sure.· Would you agree that all                  17· · · · A.· ·Yes, if we go to my Key Reliance Material
 18· ·nonasbestiform elongated mineral particles are subsumed    18· ·List.
 19· ·within the definition of cleavage fragments, as you use    19· · · · Q.· ·Okay.· And for the record, this is Exhibit 3
 20· ·it in your opinion?                                        20· ·that we're referring to?· I'm sorry, Exhibit 4?
 21· · · · · · · · ·MR. SEA:· Objection to form.                 21· · · · A.· ·Let me --
 22· · · · A.· ·Yeah, I'm not -- I'm not sure what you're        22· · · · Q.· ·Okay, go ahead.
 23· ·getting at here.                                           23· · · · A.· ·It's Exhibit 3.
 24· · · · · · · · ·MR. NORRIS:· Well, objection, vague,         24· · · · Q.· ·Sorry, Exhibit 3.· Go ahead.
 25· · · · ambiguous.                                            25· · · · A.· ·So I can just list for you the key references


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                                                       Page 34                                                         Page 36
 ·1· ·measuring to document adverse pathogenic effects.          ·1· · · · A.· ·Those are two of many properties.
 ·2· · · · Q.· ·Okay.· And just to clarify, "species" as you     ·2· · · · Q.· ·And those properties differ between different
 ·3· ·use it is not referring to different types of asbestos,    ·3· ·mineral types; is that correct?
 ·4· ·correct?                                                   ·4· · · · A.· ·Correct.
 ·5· · · · A.· ·Not here, no, it's not.                          ·5· · · · Q.· ·Dr. Mossman, are you familiar with the term
 ·6· · · · Q.· ·Thank you.· With regard to elongated mineral     ·6· ·"ferruginous body"?
 ·7· ·particles that are nonasbestiform, would you agree that    ·7· · · · A.· ·I am.
 ·8· ·there's a hazard gradient that depends upon the length     ·8· · · · Q.· ·Okay.· Can you tell me what that term means
 ·9· ·and the diameter of those particles regardless of          ·9· ·to you?
 10· ·whether they're asbestiform or not?                        10· · · · A.· ·Yes.· It's an iron deposit; hence, the term
 11· · · · A.· ·No, again, when you use the term "elongated      11· ·ferruginous, that's formed on an inhaled particle or
 12· ·mineral particles," it reviews -- it has been used         12· ·fiber in the lung and rarely in other organs.
 13· ·correctly and incorrectly for a number of different        13· · · · Q.· ·And could you explain briefly how a
 14· ·types of materials, asbestiform versus nonasbestiform,     14· ·ferruginous body is formed?
 15· ·and a variety of different sizes of materials, so I        15· · · · A.· ·We don't know all the details, but the
 16· ·couldn't comment on the statement that you just gave       16· ·hypothesis is that a ferruginous body is formed
 17· ·me.· I think we'd have to focus in a little bit.           17· ·consisting of beads of material along fibers that are
 18· · · · Q.· ·Okay.· What -- what do you consider to be the    18· ·beyond a certain size and that the deposit is due to
 19· ·correct usage of "elongated mineral particle" versus       19· ·dying macrophages that unsuccessfully try to digest and
 20· ·the incorrect usage?                                       20· ·remove these materials.
 21· · · · A.· ·Elongated mineral particles, in my speaking      21· · · · Q.· ·Okay.· And would you consider the presence of
 22· ·to geologists, incorrectly refers to a number of           22· ·ferruginous bodies to be a marker of an adverse
 23· ·different mineral types, sizes, durability, chemical       23· ·pathogenic response in human tissue?
 24· ·composition, and so it's difficult to make a statement     24· · · · A.· ·No.
 25· ·using this definition that relates to biological           25· · · · Q.· ·Are cleavage fragments, as you define them,
                                                       Page 35                                                         Page 37
 ·1· ·effects or geological effects, because it's not a          ·1· ·capable of producing ferruginous bodies in the human
 ·2· ·recognized term.                                           ·2· ·body?
 ·3· · · · Q.· ·So to rephrase, there are different types of     ·3· · · · A.· ·I don't believe that the analysis of what's
 ·4· ·elongated mineral particles, and the hazard the            ·4· ·inside of a ferruginous body has been classified as
 ·5· ·different types pose is individual to the physical         ·5· ·cleavage fragments versus asbestos fibers in any paper
 ·6· ·characteristics of that particular particle?               ·6· ·I've ever read, so I couldn't comment on that.
 ·7· · · · A.· ·No.                                              ·7· · · · Q.· ·Based on your understanding of how a
 ·8· · · · Q.· ·Would you agree?                                 ·8· ·ferruginous body is formed or at least the theory
 ·9· · · · A.· ·What I would say is that if you're talking       ·9· ·behind their formation, does that indicate to you that
 10· ·about a broad group of materials, the effects could be     10· ·the particle around which they form is biopersistent?
 11· ·due to many properties of those materials, including       11· · · · A.· ·I don't believe that is a true statement.· We
 12· ·their dose, dimensions, crystal structure, flexibility,    12· ·don't know that.· We do know that something such as
 13· ·surface chemistry and availability, surface area and       13· ·chrysotile asbestos is rarely found in ferruginous
 14· ·durability.· It's impossible using that term to hone in    14· ·bodies, and that's because it's very toxic and --
 15· ·on the different properties that may be important or       15· ·initially to cells, but it also dissolves, so we don't
 16· ·the specific mineral types that may be important in the    16· ·know whether ferruginous bodies are a protective
 17· ·biological effects.                                        17· ·response to an agent or whether it's a general response
 18· · · · Q.· ·Okay.· But elongated mineral particles that      18· ·to any material that may digest within a ferruginous
 19· ·are nonasbestiform, I mean those are a type of cleavage    19· ·body over time.
 20· ·fragment, correct?                                         20· · · · Q.· ·Dr. Mossman, are you familiar with the IARC
 21· · · · A.· ·No.                                              21· ·monograph issued in 1997 titled Supplement 7 - Talc not
 22· · · · Q.· ·Okay.· So some of the other parameters           22· ·containing asbestiform fibers and talc containing
 23· ·besides the dimensional criteria of a particle that        23· ·asbestiform fibers?
 24· ·might affect toxicity would include biopersistence and     24· · · · A.· ·No, I didn't go back that far.· I am aware of
 25· ·surface reactivity; would you agree?                       25· ·the more recent documents in 2010 and 2012, which


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                                                       Page 38                                                         Page 40
 ·1· ·supersede the earlier documents.                           ·1· · · · Q.· ·So putting aside crocidolite and its
 ·2· · · · Q.· ·Are you familiar with the discussion in the      ·2· ·nonasbestiform analog riebeckite, that leaves four
 ·3· ·2010 IARC monograph regarding what it describes as         ·3· ·remaining regulated amphibole asbestos types.· Is it
 ·4· ·Supplement 7, which is the 1997 monograph regarding        ·4· ·possible to rule out a health risk linked to exposure
 ·5· ·talc containing asbestiform fibers and talc not            ·5· ·to elongated mineral particles that are nonasbestiform
 ·6· ·containing asbestiform fibers?                             ·6· ·and have the same chemical composition as the other
 ·7· · · · A.· ·No, I can't recall that without the document     ·7· ·four regulated asbestos amphiboles?
 ·8· ·in front of me.                                            ·8· · · · · · · · ·MR. SEA:· Objection; vague, foundation.
 ·9· · · · Q.· ·Okay.· Would you agree that talc containing      ·9· · · · A.· ·Yeah, I couldn't comment on that.· It's just
 10· ·asbestiform fibers is capable of causing mesothelioma?     10· ·too highly speculative.· As I said previously, it's not
 11· · · · A.· ·I haven't seen any experimental evidence         11· ·just chemistry, but it's a variety of other properties
 12· ·supporting that.                                           12· ·of materials that have to be considered in
 13· · · · Q.· ·Okay.· Would you agree that there's evidence     13· ·carcinogenicity.
 14· ·that talc containing asbestiform fibers is carcinogenic    14· · · · Q.· ·Would you agree that there is evidence of
 15· ·to humans?                                                 15· ·occurrence of cancer as a result of exposure to
 16· · · · A.· ·No, I can't recall studies on talc miners        16· ·particle populations that have mixed nonasbestiform and
 17· ·with asbestiform fiber exposures.                          17· ·asbestiform properties of the minerals fluoro-edenite,
 18· · · · Q.· ·And if a conclusion of the IARC Supplement 7     18· ·winchite or richterite?
 19· ·from 1997 is that there's sufficient evidence to           19· · · · · · · · ·MR. SEA:· The same objection.
 20· ·conclude that talc containing asbestiform fibers is        20· · · · · · · · ·MR. NORRIS:· Vague.
 21· ·carcinogenic to humans, do you have any -- do you have     21· · · · A.· ·No, I wouldn't agree.
 22· ·any information to dispute that statement?                 22· · · · Q.· ·So you would not agree that there is
 23· · · · A.· ·I don't, not knowing the references that         23· ·a -- that there's a relationship between exposure to
 24· ·they're -- that may support that.· I'm -- again, I         24· ·those particles I listed in my prior question and
 25· ·previously stated, I'm unaware of any references that      25· ·occurrence of cancer?
                                                       Page 39                                                         Page 41
 ·1· ·support that in humans, and this has not been discussed    ·1· · · · · · · · ·MR. SEA:· The same objection.
 ·2· ·in the more recent IARC monographs.                        ·2· · · · A.· ·Could you be specific in the particles you
 ·3· · · · Q.· ·With regard to elongated mineral particles       ·3· ·listed?
 ·4· ·that have the same chemical composition as the five        ·4· · · · Q.· ·Yes.· And please correct me if I'm
 ·5· ·regulated amphibole asbestos types, do you believe it's    ·5· ·mispronouncing these, but fluoro-edenite -- are you
 ·6· ·possible to rule out a risk of cancer linked to            ·6· ·familiar with that mineral?
 ·7· ·exposure to these particles?                               ·7· · · · A.· ·Yes.· Fluoro-edenite in Italy, yes.
 ·8· · · · · · · · ·MR. SEA:· Objection; vague.                  ·8· · · · Q.· ·Okay.· And are you familiar with the mineral
 ·9· · · · A.· ·Yeah, could you focus your question a little     ·9· ·winchite or winchite?
 10· ·bit, please?                                               10· · · · A.· ·I'm assuming you're talking about the Libby
 11· · · · Q.· ·Sure.· With regard to elongated mineral          11· ·amphibole like material?
 12· ·particles that have the same chemistry as the five         12· · · · Q.· ·That's correct.· Are you familiar with that
 13· ·regulated amphibole asbestos types, do you believe it's    13· ·mineral spelled w-i-n-c-h-i-t-e?
 14· ·possible, based on the scientific evidence, to rule out    14· · · · A.· ·Yes.
 15· ·the risk of cancer linked to exposure to those             15· · · · Q.· ·Okay.· And are you familiar with the mineral
 16· ·particles?                                                 16· ·richterite?
 17· · · · · · · · ·MR. SEA:· The same objection.                17· · · · A.· ·Yes.
 18· · · · · · · · ·MR. NORRIS:· Objection; overbroad as to      18· · · · Q.· ·Okay.· Regarding these three mineral types,
 19· · · · "cancer."                                             19· ·do you agree that there has been a relationship
 20· · · · A.· ·Yeah, I don't think that that hypothetical       20· ·established between occurrence of cancer and exposure
 21· ·situation exists with regard to nonasbestos analogs        21· ·to these particulates?
 22· ·being chemically identical to the asbestiform              22· · · · A.· ·Yes.· They're quite different materials, but
 23· ·derivatives.· I know that this is not true for things      23· ·fluoro-edenite has been associated with cancers, and I
 24· ·such as riebeckite versus crocidolite, and for that        24· ·believe that's been listed as a carcinogen by IARC.
 25· ·reason I -- I couldn't endorse that opinion.               25· ·That's distinctive from the Libby amphibole which


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                                                       Page 42                                                         Page 44
 ·1· ·contains winchite and richterite, and there have been      ·1· · · · A.· ·No, I wouldn't agree with it.
 ·2· ·mesotheliomas associated with this material in             ·2· · · · Q.· ·Dr. Mossman, do you know an individual by the
 ·3· ·individuals in Libby, Montana.                             ·3· ·name of Richard Zazenski?
 ·4· · · · Q.· ·And the Libby amphibole that caused those        ·4· · · · A.· ·Could you spell the last name?· I -- it's not
 ·5· ·these mesotheliomas, would you consider that to be an      ·5· ·ringing a bell.
 ·6· ·elongated mineral particle?                                ·6· · · · Q.· ·Sure.· Zazenski is --
 ·7· · · · A.· ·Like every dust material, there would be         ·7· · · · A.· ·Oh.
 ·8· ·elongated mineral particles as well as nonelongated        ·8· · · · Q.· ·-- Z-a-z-e-n-s-k-i.
 ·9· ·mineral particles that would have been inhaled by these    ·9· · · · A.· ·I don't know him personally.
 10· ·individuals.                                               10· · · · Q.· ·Do you know who that individual is, even if
 11· · · · Q.· ·And is it your opinion that it is the            11· ·you don't know him personally?
 12· ·nonelongated mineral particles or the elongated mineral    12· · · · A.· ·I have a reference by Zazenski in 1995 which
 13· ·particles that would be carcinogenic in those particle     13· ·talks about talc occurrence characterization in
 14· ·populations?                                               14· ·consumer applications.
 15· · · · A.· ·It's difficult to say in this population,        15· · · · Q.· ·Okay.· Do you know anything further about
 16· ·because these individuals were exposed to vermiculite      16· ·Richard Zazenski aside from him being listed as an
 17· ·that would have different populations proportionally of    17· ·author on that publication?
 18· ·elongated mineral particles versus nonelongated mineral    18· · · · A.· ·No, I don't.
 19· ·particles, and so it really is hard to parcel out what     19· · · · Q.· ·Have you ever communicated or exchanged
 20· ·fraction or population is important in cancer in these     20· ·e-mails with a Mr. Zazenski?
 21· ·mixed exposures.                                           21· · · · A.· ·Not that I can remember.· It's possible.
 22· · · · Q.· ·Would you agree that a cleavage fragment with    22· · · · · · · · ·MR. LITTLE:· All right.· I only have a
 23· ·the dimensional criteria as set forth by the World         23· · · · few more questions.· Does anyone mind if we take a
 24· ·Health Organization for a fiber --                         24· · · · short break, five minutes?
 25· · · · · · · · ·MR. SEA:· Objection; vague.                  25· · · · · · · · ·MR. SEA:· That's fine with me.
                                                       Page 43                                                         Page 45
 ·1· · · · Q.· ·-- is toxic -- is toxic from a carcinogenic      ·1· · · · · · · · ·MR. LITTLE:· All right.· Let's go off the
 ·2· ·perspective?                                               ·2· · · · record.
 ·3· · · · · · · · ·MR. SEA:· Counsel, can you reask the         ·3· · · · · · · · · (A brief break was taken from 2:39 p.m.
 ·4· · · · question?· I'm sorry, there was a pause there, and    ·4· · · · to 2:48 p.m.)
 ·5· · · · I wasn't sure if that was the question or not.· Do    ·5· · · · · · · · ·MR. LITTLE:· Back on the record?
 ·6· · · · you want to just reask that so it's a little          ·6· · · · Q.· ·BY MR. LITTLE:· Dr. Mossman, you described
 ·7· · · · clearer?                                              ·7· ·one of the areas that you may offer testimony on to be
 ·8· · · · · · · · ·MR. LITTLE:· Yeah, that's fair.· Let me      ·8· ·the ability of durable fibers in a human body to
 ·9· · · · reask it.                                             ·9· ·translocate to the pleura and peritoneum; is that
 10· · · · Q.· ·BY MR. LITTLE:· Would you agree that cleavage    10· ·correct?
 11· ·fragments with the dimensional criteria as set forth by    11· · · · A.· ·Could you say that again, please?
 12· ·the World Health Organization for a fiber are              12· · · · Q.· ·You've identified one of the areas that you
 13· ·carcinogenic?                                              13· ·may testify in to be the ability of durable fibers to
 14· · · · A.· ·No.                                              14· ·enter the human body and translocate to the pleura and
 15· · · · · · · · ·MR. SEA:· I'm just going to object as to     15· ·peritoneum; is that right?
 16· · · · foundation.                                           16· · · · A.· ·Yes.
 17· · · · Q.· ·Okay.· Would you agree that there is             17· · · · Q.· ·Is it your opinion that the ability to
 18· ·sufficient scientific evidence to conclude that            18· ·asbestiform versus nonasbestiform fibers of the same
 19· ·cleavage fragments with a dimensional criteria as set      19· ·dimension have different ability to translocate to the
 20· ·forth by the World Health Organization for a fiber,        20· ·pleura and peritoneum?
 21· ·which is length greater than 5 microns, diameter less      21· · · · A.· ·No, what I'm saying is that asbestos fibers
 22· ·than 3 microns, and an aspect ratio greater than 3 to      22· ·that are long and thin may -- and fibers of a certain
 23· ·1, are less carcinogenic than their asbestiform            23· ·dimension, may be translocated to sites of mesothelioma
 24· ·counterparts?                                              24· ·development, but they would be unlikely to be retained
 25· · · · · · · · ·MR. SEA:· The same objection.                25· ·there for sufficient periods of times unless they were


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 ·1· ·durable fibers.                                            ·1· ·properties of nonasbestos versus asbestos fibers.
 ·2· · · · Q.· ·And so in terms of translocation and             ·2· · · · Q.· ·Would you agree that each mineralogically
 ·3· ·remaining in those sites where mesothelioma develops,      ·3· ·distinct particulate elicits its own unique biologic
 ·4· ·it's the durability of the fiber that differentiates       ·4· ·response?
 ·5· ·between asbestiform and nonasbestiform, in your            ·5· · · · A.· ·I don't think I would -- I could agree with
 ·6· ·opinion?                                                   ·6· ·that.· We just don't have information on all types of
 ·7· · · · A.· ·Yes, that's one of the features.                 ·7· ·asbestos and their biological responses.
 ·8· · · · Q.· ·Okay.· What other features differentiate         ·8· · · · Q.· ·Are you currently performing any research,
 ·9· ·between the ability of long, thin particles that are       ·9· ·Dr. Mossman, personally?
 10· ·asbestiform versus nonasbestiform to translocate and       10· · · · A.· ·No.
 11· ·remain at the sites where mesothelioma develops?           11· · · · Q.· ·When was the last time that you personally
 12· · · · A.· ·Okay.· So the other properties that become       12· ·performed any original research?
 13· ·important are what are called the dissolution kinetics     13· · · · A.· ·I would guess three to four years ago.
 14· ·at the site, and at the site of development the            14· · · · Q.· ·Who is the scientist that's now in charge of
 15· ·durability is an important phenomena, but there also       15· ·your laboratory or what was formerly your laboratory?
 16· ·has to be considered the interaction of fibers with        16· · · · A.· ·Dr. Arti, spelled A-r-t-i, Shukla, spelled
 17· ·mesothelial cells and their ability to drive reactions     17· ·S-h-u-k-l-a.
 18· ·that are important in carcinogenesis, and this is a        18· · · · Q.· ·And has your laboratory, that you know of,
 19· ·function of not only their dose and dimension, but         19· ·received any grants or other compensation from
 20· ·their surface chemistry, chemical composition, surface     20· ·companies that either sell, manufacture, or mine talcum
 21· ·charge, and surface area.                                  21· ·powder or sell talcum powder products?
 22· · · · Q.· ·And would you agree that those physical          22· · · · · · · · ·MR. SEA:· Objection; vague, compound.
 23· ·characteristics that you just listed differ between the    23· · · · A.· ·Are you talking about historically or within
 24· ·six regulated asbestos types?                              24· ·a certain period of time to the present?
 25· · · · A.· ·The properties that I listed aren't              25· · · · Q.· ·Sure, let me narrow that question to the last
                                                       Page 47                                                         Page 49
 ·1· ·dimensional or physical.· The point I want to make is      ·1· ·five years.
 ·2· ·that the physical nature may drive what gets to the        ·2· · · · A.· ·No.
 ·3· ·pleura, but there are other features that are important    ·3· · · · Q.· ·Okay.· Has your laboratory that you know of
 ·4· ·that -- in determining whether fibers will be retained     ·4· ·received any compensation or grants from industry
 ·5· ·or interact with pleural or peritoneal mesothelial         ·5· ·groups that are -- that include or have as members
 ·6· ·cells, and those are some of the many properties that      ·6· ·companies that sell talc or talcum powder products?
 ·7· ·may be important, in additional to just dimensions.        ·7· · · · A.· ·In the last five years, again?
 ·8· · · · · · · · ·MR. LITTLE:· I'm going to object to the      ·8· · · · · · · · ·MR. SEA:· Objection; vague.
 ·9· · · · nonresponsive portions of that response.              ·9· · · · Q.· ·Yes, in the last five years.
 10· · · · Q.· ·BY MR. LITTLE:· Again, the physical              10· · · · A.· ·No.
 11· ·properties that you located, would you agree that they     11· · · · Q.· ·Okay.· How about in the last ten years?
 12· ·differ between the six different types of regulated        12· · · · A.· ·No.· No new grants in the last ten years
 13· ·asbestos, being chrysotile, crocidolite, amosite,          13· ·supported by industry.
 14· ·anthophyllite, tremolite; would you agree -- would you     14· · · · · · · · ·MR. SEA:· Objection; vague.
 15· ·agree that those physical properties that you              15· · · · Q.· ·Okay.· How would you characterize the level
 16· ·identified differ between those asbestos types?            16· ·of certainty with which you opine that cleavage
 17· · · · · · · · ·MR. SEA:· Objection; asked and answered.     17· ·fragments are not carcinogenic?
 18· · · · A.· ·The physical and chemical properties of the      18· · · · · · · · ·MR. SEA:· Objection; vague,
 19· ·different types of asbestos as well as their               19· · · · mischaracterizes.
 20· ·composition and surface chemistry differs between each     20· · · · A.· ·Yeah, I'm not sure what you mean by "level of
 21· ·type of asbestos.                                          21· ·certainty."
 22· · · · Q.· ·And it also differs then between the             22· · · · Q.· ·Okay.· When you opine that cleavage fragments
 23· ·different types of the nonasbestiform mineral analogs      23· ·are not carcinogenic, I mean how certain are you of
 24· ·of the six regulated asbestos types?                       24· ·that opinion?
 25· · · · A.· ·From what we know, yes, there are different      25· · · · A.· ·Quite certain based on my review of the


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 ·1· ·scientific literature and my own studies.                  ·1· ·and comparable asbestos fibers are not only thicker,
 ·2· · · · Q.· ·Okay.· Dr. Mossman, could you estimate the       ·2· ·and it's rarely that cleavage fragments of greater than
 ·3· ·number of hours that you've spent on this matter thus      ·3· ·5 or 10 microns have a narrow diameter.· They don't by
 ·4· ·far?                                                       ·4· ·definition.· So I couldn't agree with that statement.
 ·5· · · · A.· ·Only the time in this deposition and perhaps     ·5· · · · · · · · ·MR. SEA:· Thank you, Dr. Mossman.· That's
 ·6· ·an hour total prior to this deposition.                    ·6· · · · all I have.
 ·7· · · · Q.· ·Okay.· And what did the hour prior to the        ·7· · · · · · · · ·MR. LITTLE:· Nothing further from me.
 ·8· ·deposition include?                                        ·8· · · · Any other questions from any of the folks on the
 ·9· · · · A.· ·It included reading the original complaint,      ·9· · · · phone or in person?
 10· ·setting up the file, and talking with attorneys about      10· · · · · · · · ·MR. NORRIS:· No, nothing from Imerys.
 11· ·the logistics of the deposition.                           11· · · · · · · · ·THE REPORTER:· Could you just please put
 12· · · · Q.· ·Okay.· So to clarify, you have reviewed the      12· · · · your transcript order on the record?
 13· ·complaint that the Plaintiff filed in this matter?         13· · · · · · · · ·MR. SEA:· This is Nexus for Johnson &
 14· · · · A.· ·I did when it was first filed, yes.              14· · · · Johnson and Johnson & Johnson Consumer, Inc.· We
 15· · · · Q.· ·Okay.· And who were the attorneys with whom      15· · · · would like an expedited transcript, please, and a
 16· ·which you spoke in preparation for this deposition?        16· · · · scan of all the exhibits used for this deposition.
 17· · · · A.· ·Mr. Sea, Mr. Norris, and I believe Patricia      17· · · · We would like a PDF and PTX form, condensed, and
 18· ·Alberts was on the line as well.                           18· · · · noncondensed.
 19· · · · Q.· ·And did any of these three attorneys provide     19· · · · · · · · ·MR. NORRIS:· We just want an e-transcript
 20· ·you with any documents or show you any documents as        20· · · · with exhibits, however they normally do it.· This
 21· ·part of your preparation?                                  21· · · · is Imerys.
 22· · · · A.· ·No.                                              22· · · · · · · · ·MR. LITTLE:· Yeah, and Plaintiffs would
 23· · · · · · · · ·MR. LITTLE:· Okay.· That's all the           23· · · · like an e-transcript with exhibits as well. I
 24· · · · questions I have for today.· Are there any other      24· · · · assume that comes in PDF format?
 25· · · · questions from the Defendants?                        25· · · · · · · · ·THE REPORTER:· PDF or PTX, whichever you
                                                       Page 51                                                         Page 53
 ·1· · · · · · · · ·MR. SEA:· Yeah, I just want to clear a       ·1· ·prefer.
 ·2· · · · few things up with respect to an earlier question     ·2· · · · · · MR. LITTLE:· PDF, please.
 ·3· · · · that you asked.                                       ·3· · · · · · ·(Whereupon, the deposition was concluded
 ·4· · · · · · · · · · · · ·EXAMINATION                          ·4· ·at 3:06 p.m.)
 ·5· ·BY MR. SEA:                                                ·5
 ·6· · · · Q.· ·Dr. Mossman -- Dr. Mossman, you were asked       ·6
 ·7· ·earlier about the -- well, strike that.· Let me start      ·7
 ·8· ·over.                                                      ·8
 ·9· · · · · · ·Counsel for Plaintiffs asked you about           ·9
 10· ·cleavage fragments and compared them to the definition     10
 11· ·of a fiber from the World Health Organization; do you      11
 12· ·remember that?                                             12
 13· · · · A.· ·I do.                                            13
 14· · · · Q.· ·And he was asking whether you agreed that a      14
 15· ·cleavage fragment with the same dimensions of a fiber      15
 16· ·as defined by the World Health Organization was less       16
 17· ·carcinogenic; do you remember that?                        17
 18· · · · A.· ·Correct.                                         18
 19· · · · Q.· ·And you noted that you did not agree with        19
 20· ·that, correct?                                             20
 21· · · · A.· ·Correct.                                         21
 22· · · · Q.· ·Can you explain why?                             22
 23· · · · A.· ·Yes, because cleavage fragments, by              23
 24· ·definition, are not of the same dimensions as asbestos     24
 25· ·fibers as they are -- the ones as long as, let's say,      25


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